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Trial Ex.     Proffering                                                                                  Additional
No.           Party        Doc. Date      Bates        Description                                        Description   Hyperlink to Document

                                                       Senate Redistricting Committee Meeting
            1P                4/17/2013                Minutes, Wednesday April 17, 2013

                                                       Transcript - Senate Redistricting Committee
            2 P, D            4/17/2013                Meetong on SB 325, April 17, 2013
                                                       Transcript -Senate Floor Debate on SB 325, April
            3 P, D            4/22/2013                22, 2013
                                                       House Committee on Elections Minutes,
            4P                5/29/2013                Wednesday May 29, 2013
                                                       Transcript -House Floor Debate on SB 325,June
            5 P, D            6/10/2013                10, 2013

                                                       Senate Redistricting Committee Meeting
            6P                 3/5/2015                Minutes, Thursday March 5, 2015

                                                       Transcript - Senate Redistricting Committee
            7P                 3/5/2015                Meetong on SB 181, March 5, 2015

                                                       Senate Redistricting Committee Meeting
            8P                3/10/2015                Minutes, Thursday March 10, 2015

                                                       Transcript - Senate Redistricting Committee
            9 P, D            3/10/2015                Meetong on SB 181, March 10, 2015
                                                       Transcript -Senate Floor Debate on SB 181,
        10 P, D               3/11/2015                March 11, 2015
                                                       Transcript -Senate Floor Debate on SB 181,
        11 P, D               3/12/2015                March 12, 2015
                                                       House Committee on Elections Minutes,
        12 P                  3/31/2015                Tuesday, March 31,2015
                                                       Transcript -House Floor Debate on SB 181, April
        13 P, D                4/1/2015                1, 2015


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                                Public Policy Polling - Survey of 500 Wake
14 P   3/20-22/2015             County Voters - Wake Co. Commissioners Bill
15 P      11/3/2015             Expert Report of Dr. Jowei Chen

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16 P      11/3/2015             of Dr. Jowei Chen

                                Table 2: Precincts Split into Two or More
                                Districts in Enacted and Simulated Districting
17 P      11/3/2015             Plans, Expert Report of Dr. Jowei Chen

18 P      11/3/2015             Figure 1, Expert Report of Dr. Jowei Chen

19 P      11/3/2015             Figure 2, Expert Report of Dr. Jowei Chen


                                Figure 3: Two Super-District Plans: Comparison
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                                County Commissioner Elections), Expert Report
20 P      11/3/2015             of Dr. Jowei Chen


                                Figure 4: Two Super-District Plans: Comparison
                                of Enacted and Simulated Plan Districts On
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                                County Commissioner Elections and 2012
                                Presidential Election), Expert Report of Dr.
21 P      11/3/2015             Jowei Chen




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                             District Plans On Population Deviation and
                             Partisanship, Seven-District Plans (2014 County
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22 P   11/3/2015             Jowei Chen


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23 P   11/3/2015             Jowei Chen

                             Figure 7: Black Census Blocks and District #4 of
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24 P   11/3/2015             Report of Dr. Jowei Chen


                             Figure 8: Comparison of Enacted and Simulated
                             Districting Plans on Black Proportion and
                             Partisanship (2012 Presidential Election) in the
                             Blackest District of Each 7-District Plan, Expert
25 P   11/3/2015             Report of Dr. Jowei Chen




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26 P   11/3/2015             Jowei Chen
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28 P   11/2/2015             Report of Anthony Fairfax

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30 P   11/2/2015             Expert Report of Anthony Fairfax

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35 P   11/2/2015             w/ Population, Expert Report of Anthony Fairfax


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36 P   11/2/2015             Anthony Fairfax

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38 P   11/2/2015             Anthony Fairfax

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42 P   11/2/2015             District), Expert Report of Anthony Fairfax

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43 P   11/2/2015             District), Expert Report of Anthony Fairfax




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45 P   11/2/2015             Expert Report of Anthony Fairfax

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46 P   11/2/2015             Plans), Expert Report of Anthony Fairfax

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49 P   11/2/2015             Anthony Fairfax
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50 P   11/2/2015             Anthony Fairfax
                                                                                  http://www.wcpss.net/c
                                                                                  ms/lib/NC01911451/Cen
                                                                                  tricity/Domain/100/book
51 P                         WCPSS - Demographics, 2011-12                        11.pdf
                             Board of County Commissioners Work Session -
52 P    1/7/2013             Legislative Goals


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                             Wake County Board of County Commissioner         ts/CommissionerDist_8x
53 P                         Residency Districts Map                          11.pdf
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54 P                         Wake County 2011 School Board Districts Map      df
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55 P   11/4/2014             Results                                          m

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56 P   10/8/2013             Results 2013                                     10.08.Summary.htm
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                             Wake County November 2012 General Election       2012.11.06.Summary.ht
57 P   11/6/2012             Results                                          m




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58 P   10/11/2011             Results 2011                                     11.Summary.htm
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59 P    11/8/2011             Results 2011 Runoff                              .html
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                              Wake County November 2010 General Election       2010.11.02.Summary.ht
60 P    11/2/2010             Results                                          ml

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61 P    10/6/2009             Results 2009                                     6Summary.html


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62 P   11/3/2009             Results 2009 Runoff                              mmary.html

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                             Wake County November 2008 General Election       %20General%20Election/
63 P   11/4/2008             Results                                          20081104Summary.htm

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64 P   10/9/2007             Results 2007                                     071009Summary.htm




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                             Wake County November 2006 General Election        %20General%20Election/
65 P    11/7/2006            Results                                           20061107Summary.HTM


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                             Wake County Board of Education Election           1A708B-A938-43AB-8CF4-
66 P   10/11/2005            Results 2005                                      FE1FC5C32A1D}




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67 P   11/8/2005            Results 2005 Runoff                               tf

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                            Wake County November 2004 General Election        %20General%20Election/
68 P   11/2/2004            Results                                           20041102Summary.rtf

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                                                                              m/elections/data/Past%
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                                                                              02-11-05%20-
                            Wake County November 2002 General Election        %20General%20Election/
69 P   11/5/2002            Results                                           20021105Summary.txt

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                            Wake County November 2000 General Election        %20General%20Election/
70 P   11/7/2000            Results                                           20001107Summary.txt




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                            2014 - 4th Quarter Campaign Finance Report -      Committees/H/Hutchins
71 P   1/12/2015            Sig Hutcherson                                    on_Sig_2015-1-12.pdf

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                            2014 - 4th Quarter Campaign Finance Report -      %20Matt/Calabria_Matt
72 P   1/13/2015            Matt Calabria                                     _2015-1-12.pdf

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73 P   1/12/2015            Jessica Holmes                                    essica_2015-1-12.pdf

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74 P   1/12/2015            John Burns                                        hn_2015-1-12.pdf




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75 P   1/10/2013            Caroline Sullivan                                 aroline_2013-01-14.pdf

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76 P    1/4/2013            James West                                        mes_2013-01-14.pdf

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77 P    1/1/2013            Betty Lou Ward                                    etty_2013-01-14.pdf

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                            2010 - 4th Quarter Campaign Finance Report -      Committees/B/Bryan_Jo
78 P   1/10/2011            Joe Bryan                                         e_2011-01-10.pdf




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79 P       1/10/2011                  Phil Matthews                                  s_Phil_2011-01-18.pdf

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80 P       1/11/2011                  Tony Gurley                                    ony_2011-01-13.pdf

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                                  2010 - 4th Quarter Campaign Finance Report -       0Paul/Coble_Paul_2011-
81 P       1/10/2011              Paul Coble                                         01-10.pdf
                     WBOE_000014- Wake Bd. of Elections - Budget Info and Board
82 P       3/11/2015 22           of Education District
                     WBOE_000113-
83 P        3/4/2015 115          SEIMS issues with School Board super districts
                     WBOE_000256-
84 P       3/10/2015 258          SEIMS issues with BoCC super districts
                     WBOE_000386- 2011 legislative changes re: Wake BoCC
85 P       9/30/2015 87           residency districts
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                       2015-2016 WCPSS School Assignment Base Map ABBOTTS    2015 BASE ATTENDANCE
                       - Elementary                               CREEK ES   AREA (Trad)
88 P
                       2015-2016 WCPSS School Assignment Base Map            2015 BASE ATTENDANCE
                                                                  ADAMS ES
                       - Elementary                                          AREA (YR)
89 P
                       2015-2016 WCPSS School Assignment Base Map ALSTON     2015 BASE ATTENDANCE
                       - Elementary                               RIDGE ES   AREA (YR)
90 P
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91 P
                       2015-2016 WCPSS School Assignment Base Map AVERSBORO 2015 BASE ATTENDANCE
                       - Elementary                               ES        AREA (Trad)
92 P
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93 P
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                       - Elementary                               ES         AREA (YR)
94 P
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95 P
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96 P
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97 P
                       2015-2016 WCPSS School Assignment Base Map BRASSFIELD 2015 BASE ATTENDANCE
                       - Elementary                               ES         AREA (YR)
98 P



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                        2015-2016 WCPSS School Assignment Base Map BRENTWOO 2015 BASE ATTENDANCE
                        - Elementary                               D ES     AREA (Trad)
 99 P
                        2015-2016 WCPSS School Assignment Base Map BRIARCLIFF 2015 BASE ATTENDANCE
                        - Elementary                               ES         AREA (Trad)
100 P
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101 P
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102 P
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103 P
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104 P
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105 P
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106 P
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107 P
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108 P
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109 P



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                        2015-2016 WCPSS School Assignment Base Map CREECH RD 2015 BASE ATTENDANCE
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110 P
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111 P
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112 P
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113 P
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114 P
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115 P
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116 P
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117 P
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118 P
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119 P
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120 P



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                        2015-2016 WCPSS School Assignment Base Map FUQUAY-     2015 BASE ATTENDANCE
                        - Elementary                               VARINA ES   AREA (Trad)
121 P
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                        - Elementary                                           AREA (Trad)
122 P
                        2015-2016 WCPSS School Assignment Base Map GREEN       2015 BASE ATTENDANCE
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123 P
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                        - Elementary                               CREEK ES    AREA (YR)
124 P
                        2015-2016 WCPSS School Assignment Base Map HERBERT     2015 BASE ATTENDANCE
                        - Elementary                               AKINS ES    AREA (YR)
125 P
                        2015-2016 WCPSS School Assignment Base Map HERITAGE    2015 BASE ATTENDANCE
                        - Elementary                               ES          AREA (YR)
126 P
                        2015-2016 WCPSS School Assignment Base Map HIGHCROFT 2015 BASE ATTENDANCE
                        - Elementary                               DR ES     AREA (YR-Trk 4)
127 P
                        2015-2016 WCPSS School Assignment Base Map HILBURN    2015 BASE ATTENDANCE
                        - Elementary                               DRIVE ACAD AREA (Trad)
128 P
                        2015-2016 WCPSS School Assignment Base Map HODGE RD    2015 BASE ATTENDANCE
                        - Elementary                               ES          AREA (YR-Trk 4)
129 P
                        2015-2016 WCPSS School Assignment Base Map HOLLY       2015 BASE ATTENDANCE
                        - Elementary                               GROVE ES    AREA (YR)
130 P
                        2015-2016 WCPSS School Assignment Base Map HOLLY       2015 BASE ATTENDANCE
                        - Elementary                               RIDGE ES    AREA (Trad)
131 P



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                        2015-2016 WCPSS School Assignment Base Map HOLLY      2015 BASE ATTENDANCE
                        - Elementary                               SPRINGS ES AREA (YR)
132 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   HUNTER ES
                        - Elementary                                           AREA (Trad)
133 P
                        2015-2016 WCPSS School Assignment Base Map JEFFREYS    2015 BASE ATTENDANCE
                        - Elementary                               GROVE ES    AREA (Trad)
134 P
                        2015-2016 WCPSS School Assignment Base Map JONES       2015 BASE ATTENDANCE
                        - Elementary                               DAIRY ES    AREA (YR)
135 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   JOYNER ES
                        - Elementary                                           AREA (Trad)
136 P
                        2015-2016 WCPSS School Assignment Base Map KINGSWOOD 2015 BASE ATTENDANCE
                        - Elementary                               ES        AREA (Trad)
137 P
                        2015-2016 WCPSS School Assignment Base Map KNIGHTDALE 2015 BASE ATTENDANCE
                        - Elementary                               ES         AREA (Trad)
138 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   LACY ES
                        - Elementary                                           AREA (Trad)
139 P
                        2015-2016 WCPSS School Assignment Base Map LAKE MYRA   2015 BASE ATTENDANCE
                        - Elementary                               ES          AREA (YR-Trk 4)
140 P
                        2015-2016 WCPSS School Assignment Base Map LAUREL      2015 BASE ATTENDANCE
                        - Elementary                               PARK ES     AREA (YR)
141 P
                        2015-2016 WCPSS School Assignment Base Map LEAD MINE   2015 BASE ATTENDANCE
                        - Elementary                               ES          AREA (Trad)
142 P



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                        2015-2016 WCPSS School Assignment Base Map LEESVILLE    2015 BASE ATTENDANCE
                        - Elementary                               RD ES        AREA (Trad)
143 P
                        2015-2016 WCPSS School Assignment Base Map LINCOLN    2015 BASE ATTENDANCE
                        - Elementary                               HEIGHTS ES AREA (Trad)
144 P
                        2015-2016 WCPSS School Assignment Base Map LOCKHART     2015 BASE ATTENDANCE
                        - Elementary                               ES           AREA (YR-Trk 4)
145 P
                        2015-2016 WCPSS School Assignment Base Map            2015 BASE ATTENDANCE
                                                                   LYNN RD ES
                        - Elementary                                          AREA (Trad)
146 P
                        2015-2016 WCPSS School Assignment Base Map MIDDLE       2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES     AREA (YR)
147 P
                        2015-2016 WCPSS School Assignment Base Map MILLBROOK 2015 BASE ATTENDANCE
                        - Elementary                               ES        AREA (Trad)
148 P
                        2015-2016 WCPSS School Assignment Base Map MILLS PARK 2015 BASE ATTENDANCE
                        - Elementary                               ES         AREA (Trad)
149 P
                        2015-2016 WCPSS School Assignment Base Map MORRISVILL 2015 BASE ATTENDANCE
                        - Elementary                               E ES       AREA (YR)
150 P
                        2015-2016 WCPSS School Assignment Base Map N FOREST     2015 BASE ATTENDANCE
                        - Elementary                               PINES ES     AREA (YR)
151 P
                        2015-2016 WCPSS School Assignment Base Map              2015 BASE ATTENDANCE
                                                                   N RIDGE ES
                        - Elementary                                            AREA (Trad)
152 P
                        2015-2016 WCPSS School Assignment Base Map NORTHWOO 2015 BASE ATTENDANCE
                        - Elementary                               DS ES    AREA (Trad)
153 P



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                        2015-2016 WCPSS School Assignment Base Map OAK GROVE 2015 BASE ATTENDANCE
                        - Elementary                               ES        AREA (YR)
154 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   OLDS ES
                        - Elementary                                           AREA (Trad)
155 P
                        2015-2016 WCPSS School Assignment Base Map OLIVE       2015 BASE ATTENDANCE
                        - Elementary                               CHAPEL ES   AREA (YR)
156 P
                        2015-2016 WCPSS School Assignment Base Map PARTNERSHI 2015 BASE ATTENDANCE
                        - Elementary                               P ES       AREA (Mod)
157 P
                        2015-2016 WCPSS School Assignment Base Map PENNY RD    2015 BASE ATTENDANCE
                        - Elementary                               ES          AREA (Trad)
158 P
                        2015-2016 WCPSS School Assignment Base Map PLEASANT    2015 BASE ATTENDANCE
                        - Elementary                               UNION ES    AREA (YR)
159 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   POE ES
                        - Elementary                                           AREA (Trad)
160 P
                        2015-2016 WCPSS School Assignment Base Map           2015 BASE ATTENDANCE
                                                                   POWELL ES
                        - Elementary                                         AREA (Trad)
161 P
                        2015-2016 WCPSS School Assignment Base Map            2015 BASE ATTENDANCE
                                                                   RAND RD ES
                        - Elementary                                          AREA (YR-Trk 4)
162 P
                        2015-2016 WCPSS School Assignment Base Map REEDY       2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES    AREA (Trad)
163 P
                        2015-2016 WCPSS School Assignment Base Map RICHLAND    2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES    AREA (Trad)
164 P



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                        2015-2016 WCPSS School Assignment Base Map RIVER BEND 2015 BASE ATTENDANCE
                        - Elementary                               ES         AREA (YR)
165 P
                        2015-2016 WCPSS School Assignment Base Map ROLESVILLE 2015 BASE ATTENDANCE
                        - Elementary                               ES         AREA (Trad)
166 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   ROOT ES
                        - Elementary                                           AREA (Trad)
167 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   SALEM ES
                        - Elementary                                           AREA (YR)
168 P
                        2015-2016 WCPSS School Assignment Base Map SANFORD     2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES    AREA (YR)
169 P
                        2015-2016 WCPSS School Assignment Base Map SCOTTS      2015 BASE ATTENDANCE
                        - Elementary                               RIDGE ES    AREA (Trad)
170 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   SMITH ES
                        - Elementary                                           AREA (Trad)
171 P
                        2015-2016 WCPSS School Assignment Base Map           2015 BASE ATTENDANCE
                                                                   STOUGH ES
                        - Elementary                                         AREA (Trad)
172 P
                        2015-2016 WCPSS School Assignment Base Map SWIFT       2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES    AREA (Trad)
173 P
                        2015-2016 WCPSS School Assignment Base Map SYCAMORE    2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES    AREA (YR)
174 P
                        2015-2016 WCPSS School Assignment Base Map TIMBER DR   2015 BASE ATTENDANCE
                        - Elementary                               ES          AREA (YR-Trk 4)
175 P



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                        2015-2016 WCPSS School Assignment Base Map TURNER      2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES    AREA (YR)
176 P
                        2015-2016 WCPSS School Assignment Base Map UNDERWOO 2015 BASE ATTENDANCE
                        - Elementary                               D ES     AREA (Trad)
177 P
                        2015-2016 WCPSS School Assignment Base Map             2015 BASE ATTENDANCE
                                                                   VANCE ES
                        - Elementary                                           AREA (YR-Trk 4)
178 P
                        2015-2016 WCPSS School Assignment Base Map VANDORA    2015 BASE ATTENDANCE
                        - Elementary                               SPRINGS ES AREA (Trad)
179 P
                        2015-2016 WCPSS School Assignment Base Map WAKEFIELD 2015 BASE ATTENDANCE
                        - Elementary                               ES        AREA (Trad)
180 P
                        2015-2016 WCPSS School Assignment Base Map WAKE        2015 BASE ATTENDANCE
                        - Elementary                               FOREST ES   AREA (Trad)
181 P
                        2015-2016 WCPSS School Assignment Base Map WAKELON     2015 BASE ATTENDANCE
                        - Elementary                               ES          AREA (Trad)
182 P
                        2015-2016 WCPSS School Assignment Base Map WALNUT      2015 BASE ATTENDANCE
                        - Elementary                               CREEK ES    AREA (Trad)
183 P
                        2015-2016 WCPSS School Assignment Base Map WASHINGTO 2015 BASE ATTENDANCE
                        - Elementary                               N ES      AREA (Trad)
184 P
                        2015-2016 WCPSS School Assignment Base Map WEATHERST 2015 BASE ATTENDANCE
                        - Elementary                               ONE ES    AREA (Trad)
185 P
                        2015-2016 WCPSS School Assignment Base Map            2015 BASE ATTENDANCE
                                                                   WENDELL ES
                        - Elementary                                          AREA (Trad)
186 P



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                        2015-2016 WCPSS School Assignment Base Map              2015 BASE ATTENDANCE
                                                                   W LAKE ES
                        - Elementary                                            AREA (YR)
187 P
                        2015-2016 WCPSS School Assignment Base Map            2015 BASE ATTENDANCE
                                                                   WILBURN ES
                        - Elementary                                          AREA (YR)
188 P
                        2015-2016 WCPSS School Assignment Base Map WILDWOOD 2015 BASE ATTENDANCE
                        - Elementary                               FOREST ES AREA (Trad)
189 P
                        2015-2016 WCPSS School Assignment Base Map              2015 BASE ATTENDANCE
                                                                   WILEY ES
                        - Elementary                                            AREA (Trad)
190 P
                        2015-2016 WCPSS School Assignment Base Map WILLOW     2015 BASE ATTENDANCE
                        - Elementary                               SPRINGS ES AREA (YR)
191 P
                        2015-2016 WCPSS School Assignment Base Map YATES MILL   2015 BASE ATTENDANCE
                        - Elementary                               ES           AREA (Trad)
192 P
                        2015-2016 WCPSS School Assignment Base Map              2015 BASE ATTENDANCE
                                                                   YORK ES
                        - Elementary                                            AREA (Trad)
193 P
                        2015-2016 WCPSS School Assignment Base Map            2015 BASE ATTENDANCE
                                                                   ZEBULON ES
                        - Elementary                                          AREA (Trad)
194 P
                                                                     APEX MS    2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map              AREA (Trad)
195 P                   - Middle
                                                                     CARNAGE    2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map              AREA (Trad)
196 P                   - Middle
                                                                     CARROLL MS 2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map              AREA (Trad)
197 P                   - Middle



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                                                                     CENTENNIAL 2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Mod)
198 P                   - Middle
                                                                     DANIELS MS   2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
199 P                   - Middle
                                                                     DAVIS DR MS 2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
200 P                   - Middle
                                                                     DILLARD DR   2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
201 P                   - Middle
                                                                     DURANT RD    2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR)
202 P                   - Middle
                                                                     E CARY MS    2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR)
203 P                   - Middle
                                                                     E GARNER     2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
204 P                   - Middle
                                                                   E              2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map MILLBROOK      AREA (Trad)
                                                                   MS
205 P                   - Middle
                                                                     E WAKE MS    2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR-Trk 4)
206 P                   - Middle
                                                                     FUQUAY-      2015 BASE ATTENDANCE
                                                                     VARINA MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
207 P                   - Middle
                                                                     HERITAGE     2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR)
208 P                   - Middle



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                                        26

                                                                     HOLLY        2015 BASE ATTENDANCE
                                                                     GROVE MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR)
209 P                   - Middle
                                                                     HOLLY        2015 BASE ATTENDANCE
                                                                     RIDGE MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
210 P                   - Middle
                                                                     LEESVILLE    2015 BASE ATTENDANCE
                                                                     RD MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
211 P                   - Middle
                                                                     LIGON MS     2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
212 P                   - Middle
                                                                     LUFKIN RD    2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR)
213 P                   - Middle
                                                                     MARTIN MS    2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
214 P                   - Middle
                                                                     MILLS PARK   2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
215 P                   - Middle
                                                                     MOORE        2015 BASE ATTENDANCE
                                                                     SQUARE MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Mod)
216 P                   - Middle
                                                                     N GARNER     2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR-Trk 4)
217 P                   - Middle
                                                                     REEDY        2015 BASE ATTENDANCE
                                                                     CREEK MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
218 P                   - Middle
                                                                     ROLESVILLE   2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map                AREA (YR)
219 P                   - Middle



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                                                                     SALEM MS    2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map               AREA (YR)
220 P                   - Middle
                                                                     WAKEFIELD   2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map               AREA (Trad)
221 P                   - Middle
                                                                     WAKE        2015 BASE ATTENDANCE
                                                                     FOREST MS
                        2015-2016 WCPSS School Assignment Base Map               AREA (Trad)
222 P                   - Middle
                                                                     WENDELL     2015 BASE ATTENDANCE
                                                                     MS
                        2015-2016 WCPSS School Assignment Base Map               AREA (Trad)
223 P                   - Middle
                                                                     W CARY MS   2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map               AREA (Trad)
224 P                   - Middle
                                                                     W LAKE MS   2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map               AREA (YR)
225 P                   - Middle
                                                                   W             2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map MILLBROOK     AREA (Trad)
                                                                   MS
226 P                   - Middle
                                                                     ZEBULON MS 2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map               AREA (Trad)
227 P                   - Middle
                                                                   APEX          2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map FRIENDSHIP    AREA (Trad)
                                                                   HS
228 P                   - High
                                                                     APEX HS     2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map               AREA (Trad)
229 P                   - High
                                                                     ATHENS DR   2015 BASE ATTENDANCE
                                                                     HS
                        2015-2016 WCPSS School Assignment Base Map               AREA (Trad)
230 P                   - High



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                                                                     BROUGHTON 2015 BASE ATTENDANCE
                                                                     HS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
231 P                   - High
                                                                     CARY HS      2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
232 P                   - High
                                                                     E WAKE HS    2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
233 P                   - High
                                                                     ENLOE HS     2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
234 P                   - High
                                                                     FUQUAY-      2015 BASE ATTENDANCE
                                                                     VARINA HS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
235 P                   - High
                                                                     GARNER HS    2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
236 P                   - High
                                                                     GREEN        2015 BASE ATTENDANCE
                                                                     HOPE HS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
237 P                   - High
                                                                     HERITAGE     2015 BASE ATTENDANCE
                                                                     HS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
238 P                   - High
                                                                     HOLLY        2015 BASE ATTENDANCE
                                                                     SPRINGS HS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
239 P                   - High
                                                                     KNIGHTDALE 2015 BASE ATTENDANCE
                                                                     HS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
240 P                   - High
                                                                     LEESVILLE    2015 BASE ATTENDANCE
                                                                     RD HS
                        2015-2016 WCPSS School Assignment Base Map                AREA (Trad)
241 P                   - High



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                                                                                   MIDDLE       2015 BASE ATTENDANCE
                                                                                   CREEK HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Trad)
242 P                           - High
                                                                                   MILLBROOK    2015 BASE ATTENDANCE
                                                                                   HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Trad)
243 P                           - High
                                                                                   PANTHER      2015 BASE ATTENDANCE
                                                                                   CREEK HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Trad)
244 P                           - High
                                                                                   ROLESVILLE   2015 BASE ATTENDANCE
                                                                                   HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Trad)
245 P                           - High
                                                                                   SANDERSON 2015 BASE ATTENDANCE
                                                                                   HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Trad)
246 P                           - High
                                                                                   SOUTHEAST    2015 BASE ATTENDANCE
                                                                                   RALEIGH HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Mod)
247 P                           - High
                                                                                   WAKEFIELD    2015 BASE ATTENDANCE
                                                                                   HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Trad)
248 P                           - High
                                                                                   WAKE         2015 BASE ATTENDANCE
                                                                                   FOREST HS
                                2015-2016 WCPSS School Assignment Base Map                      AREA (Trad)
249 P                           - High
                                Transcript - House Elections Commmittee, SB
250 P, D   5/29/2013            325, May 29, 2013

                                Transcript - House Elections Commmittee, SB
251 P, D   3/31/2015            181, March 31, 2015
                                SB 325 Stat Pack - Senate PCS reported April 17,
252 P      4/16/2013            2013

                                SB 181 - Stat Pack - Enacted Version - Also stat
253 P, D   3/11/2015            pack for enacted version of SB 325


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254 BLANK
255 BLANK
                                                                              http://www.wakegov.co
                                                                              m/gis/services/Documen
                            Wake County School Board Districts Map (with      ts/SchoolBoardDistricts3
256 P, D                    precincts)                                        4x44.pdf

                                                                              http://www.wakegov.co
                                                                              m/gis/services/Documen
                            2016 Wake County Board of Education Lettered      ts/BOE_Election_Lettere
257 P, D                    Districts Map                                     dSingleMembDist.pdf

                                                                              http://www.wakegov.co
                                                                              m/gis/services/Documen
                            2018 Wake County Board of Eudcation               ts/BOE_Election_NumbSi
258 P, D                    Numbered Districts Map                            ngleMembDist.pdf
                                                                              http://www.wakegov.co
                                                                              m/gis/services/Documen
                            2016 Wake County Board of Commissioners           ts/BOCLetteredDistrict_P
259 P, D                    Lettered Districts Map                            recincts.pdf

                                                                              http://www.wakegov.co
                                                                              m/gis/services/Documen
                                                                              ts/BOCNumberedDistrict
                                                                              _Precincts.pdf
                            2016 Wake County Board of Commissioners
260 P, D                    Numbered Districts Map
                                                                              http://www.wakegov.co
                                                                              m/gis/services/Documen
                                                                              ts/Corp_34x34.pdf
261 D                       Wake County Corporate Limits Map




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                                                                               http://msweb03.co.wake
                             Wake County Voter Registration Statistics -       .nc.us/bordelec/downloa
262 D                        Board of Commissioners                            ds/7stats/ccom.pdf

                             Wake County Voter Registration Statistics -
263 D   12/1/2015            Board of Commissioners Lettered Districts Only
                             Wake County Voter Registration Statistics -
264 D   12/1/2015            Numbered Districts Only

                                                                               http://msweb03.co.wake
                             Wake County Voter Registration Statistics -       .nc.us/bordelec/downloa
265 D   12/1/2015            Board of Education Districts                      ds/7stats/school.pdf

                                                                               http://msweb03.co.wake
                                                                               .nc.us/bordelec/downloa
266 D   12/1/2015            Wake County Voter Registration - Municipalities   ds/7stats/muni.pdf
                                                                               http://vt.ncsbe.gov/Vote
                                                                               r_Stats/results.aspx?date
267 D   1/31/2015            North Carolina Voter Statistics by County         =01-31-2015
                                                                               http://vt.ncsbe.gov/Vote
                                                                               r_Stats/results.aspx?date
268 D    1/5/2013            North Carolina Voter Statistics by County         =01-05-2013
                                                                               http://www.wakegov.co
                                                                               m/elections/data/Registr
                                                                               ation%20Statistics/2013/
                             Wake County Voter Registration by Precinct -      PDF%20Files/20130102st
269 D                        January 2013                                      ats.pdf
                                                                               http://www.wakegov.co
                                                                               m/elections/data/Registr
                                                                               ation%20Statistics/2015/
                             Wake County Voter Registration by Precinct -      PDF%20Files/20150106st
270 D                        January 2015                                      ats.pdf



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                                               32


                                                                                http://www.wakegov.co
                                                                                m/elections/data/Past%
                                                                                20Election%20Results/20
                                                                                14-11-04%20-
                                                                                %20General%20Election/
                                                                                2014.11.04.Canvass.htm
271 D   11/14/2014            2014 General Election Results- Canvass
                                                                                http://www.wakegov.co
                                                                                m/elections/data/Past%
                                                                                20Election%20Results/20
                                                                                12-11-06%20-
                                                                                %20General%20Election/
                                                                                2012.11.06.Canvass.htm
272 D   12/12/2012            2012 General Election Results- Canvass
                                                                                http://www.wakegov.co
                                                                                m/elections/data/Past%
                                                                                20Election%20Results/20
                                                                                10-11-02%20-
                                                                                %20General%20Election/
                                                                                2010.11.02.Canvass.html
273 D                         2010 General Election Results- Canvass

                              Anthony Fairfax - Wake County NC Places 2010-
274 P                         2014-2020 Growth Estimates

                              Anthony Fairfax - Wake Places Population
275 P                         Growth 2010-14 Thematic

276 P                         Wake County Demographics October 2015

                              Map Submitted by Amy Womble - House
                              Elections Committee - March 31, 2015 -
277 P                         Municipalities with Numbered Districts Overlay



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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
278 P                   2013-14 Base Attendance Area- 304 ADAMS ES        _MAP_2013_14_304.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 307- ALSTON         ASE_ATTENDANCE_AREA
279 P                   RIDGE ES                                          _MAP_2013_14_307.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
280 P                   2013-14 Base Attendance Area- 308 APEX ES         _MAP_2013_14_307.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
281 P                   2013-14 Base Attendance Area- 316 APEX HS         _MAP_2013_14_316.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
282 P                   2013-14 Base Attendance Area- 312 APEX MS         _MAP_2013_14_312.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 318 ATHENS          ASE_ATTENDANCE_AREA
283 P                   DRIVE HS                                          _MAP_2013_14_318.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 320                 ASE_ATTENDANCE_AREA
284 P                   AVERSBORO ES                                      _MAP_2013_14_320.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 326                 ASE_ATTENDANCE_AREA
285 P                   BAILEYWICK ES                                     _MAP_2013_14_326.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 327                 ASE_ATTENDANCE_AREA
286 P                   BALLENTINE ES                                     _MAP_2013_14_327.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 325 BANKS           ASE_ATTENDANCE_AREA
287 P                   ROAD ES                                           _MAP_2013_14_325.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 329 BAREWELL        ASE_ATTENDANCE_AREA
288 P                   ROAD ES                                           _MAP_2013_14_329.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendsance Area- 328 BAUCOM         ASE_ATTENDANCE_AREA
289 P                   ES                                                _MAP_2013_14_328.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 334                 ASE_ATTENDANCE_AREA
290 P                   BRASSFIELD ES                                     _MAP_2013_14_334.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 336                 ASE_ATTENDANCE_AREA
291 P                   BRENTWOOD ES                                      _MAP_2013_14_336.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 340 BRIARCLIFF      ASE_ATTENDANCE_AREA
292 P                   ES                                                _MAP_2013_14_340.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 342 BRIAR           ASE_ATTENDANCE_AREA
293 P                   CREEK ES                                          _MAP_2013_14_342.pdf

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                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
294 P                   2013-14 Base Attendance Area- 344 BROOKS ES       _MAP_2013_14_344.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 348                 ASE_ATTENDANCE_AREA
295 P                   BROUGHTON HS                                      _MAP_2013_14_348.pdf




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296 P                   2013-14 Base Attendance Area- 352 BUGG ES         _MAP_2013_14_352.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 356 CARNAGE         ASE_ATTENDANCE_AREA
297 P                   MS                                                _MAP_2013_14_356.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 358                 ASE_ATTENDANCE_AREA
298 P                   CARPENTER ES                                      _MAP_2013_14_358.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 360 CARROLL         ASE_ATTENDANCE_AREA
299 P                   MS                                                _MAP_2013_14_360.pdf

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300 P                   2013-14 Base Attendance Area- 362 CARVER ES       _MAP_2013_14_362.pdf

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301 P                   2013-14 Base Attendance Area- 364 CARY ES         _MAP_2013_14_364.pdf




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302 P                   2013-14 Base Attendance Area- 368 CARY HS         _MAP_2013_14_368.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 369 CEDAR           ASE_ATTENDANCE_AREA
303 P                   FORK ES                                           _MAP_2013_14_369.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 370                 ASE_ATTENDANCE_AREA
304 P                   CENTENNIAL MS                                     _MAP_2013_14_370.pdf

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305 P                   2013-14 Base Attendance Area- 376 COMBS ES        _MAP_2013_14_376.pdf

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306 P                   2013-14 Base Attendance Area- 380 CONN ES         _MAP_2013_14_380.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 384 CREECH          ASE_ATTENDANCE_AREA
307 P                   ROAD ES                                           _MAP_2013_14_384.pdf




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308 P                   2013-14 Base Attendance Area- 388 DANIEL MS       _MAP_2013_14_388.pdf

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                        2013-14 Base Attendance Area- 390 DAVIS           ASE_ATTENDANCE_AREA
309 P                   DRIVE ES                                          _MAP_2013_14_390.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 391 DAVIS           ASE_ATTENDANCE_AREA
310 P                   DRIVE MS                                          _MAP_2013_14_391.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 393 DILLARD         ASE_ATTENDANCE_AREA
311 P                   DRIVE ES                                          _MAP_2013_14_393.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 394 DILLARD         ASE_ATTENDANCE_AREA
312 P                   DRIVE MS                                          _MAP_2013_14_394.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 396 DOUGLAS         ASE_ATTENDANCE_AREA
313 P                   ES                                                _MAP_2013_14_396.pdf




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                        2013-14 Base Attendance Area- 398 DURANT          ASE_ATTENDANCE_AREA
314 P                   ROAD ES                                           _MAP_2013_14_398.pdf

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                        2013-14 Base Attendance Area- 399 DURANT          ASE_ATTENDANCE_AREA
315 P                   ROAD MS                                           _MAP_2013_14_399.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area-402 EAST CARY        ASE_ATTENDANCE_AREA
316 P                   MS                                                _MAP_2013_14_402.pdf

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                        2013-14 Base Attendance Area- 403 EAST            ASE_ATTENDANCE_AREA
317 P                   GARNER ES                                         _MAP_2013_14_403.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 404 EAST            ASE_ATTENDANCE_AREA
318 P                   GARNER MS                                         _MAP_2013_14_404.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 408 EAST            ASE_ATTENDANCE_AREA
319 P                   MILLBROOK MS                                      _MAP_2013_14_408.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 411 EAST WAKE       ASE_ATTENDANCE_AREA
320 P                   HS                                                _MAP_2013_14_411.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 410 EAST WAKE       ASE_ATTENDANCE_AREA
321 P                   MS                                                _MAP_2013_14_410.pdf

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                                                                          et/pdf_maps/2013_14/B
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322 P                   2013-14 Base Attendance Area- 412 ENLOE HS        _MAP_2013_14_412.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 414                 ASE_ATTENDANCE_AREA
323 P                   FARMINGTON WOODS ES                               _MAP_2013_14_414.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 417 FOREST          ASE_ATTENDANCE_AREA
324 P                   PINES DRIVE ES                                    _MAP_2013_14_417.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 413                 ASE_ATTENDANCE_AREA
325 P                   FORESTVILLE ROAD ES                               _MAP_2013_14_413.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 415 FOX ROAD        ASE_ATTENDANCE_AREA
326 P                   ES                                                _MAP_2013_14_415.pdf

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327 P                   2013-14 Base Attendance Area- 416 FULLER ES       _MAP_2013_14_416.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 420 FUQUAY-         ASE_ATTENDANCE_AREA
328 P                   VARINA ES                                         _MAP_2013_14_420.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 428 FUQUAY-         ASE_ATTENDANCE_AREA
329 P                   VARINA HS                                         _MAP_2013_14_428.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 424 FUQUAY-         ASE_ATTENDANCE_AREA
330 P                   VARINA MS                                         _MAP_2013_14_424.pdf

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                                                                          et/pdf_maps/2013_14/B
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331 P                   2013-14 Base Attendance Area- 436 GARNER HS       _MAP_2013_14_436.pdf




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332 P                   2013-14 Base Attendance Area- 440 GREEN ES        _MAP_2013_14_440.pdf

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                        2013-14 Base Attendance Area- 439 GREEN           ASE_ATTENDANCE_AREA
333 P                   HOPE ES                                           _MAP_2013_14_439.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 441 GREEN           ASE_ATTENDANCE_AREA
334 P                   HOPE HS                                           _MAP_2013_14_441.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 451 HARRIS          ASE_ATTENDANCE_AREA
335 P                   CREEK ES                                          _MAP_2013_14_451.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 306 HERBERT         ASE_ATTENDANCE_AREA
336 P                   ATKINS ROAD ES                                    _MAP_2013_14_306.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 454 HERITAGE        ASE_ATTENDANCE_AREA
337 P                   ES                                                _MAP_2013_14_454.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 445 HERITAGE        ASE_ATTENDANCE_AREA
338 P                   HS                                                _MAP_2013_14_445.pdf

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                        2013-14 Base Attendance Area- 444 HERITAGE        ASE_ATTENDANCE_AREA
339 P                   MS                                                _MAP_2013_14_444.pdf

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                        2013-14 Base Attendance Area- 443                 ASE_ATTENDANCE_AREA
340 P                   HIGHCROFT DRIVE ES                                _MAP_2013_14_443.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 442 HILBURN         ASE_ATTENDANCE_AREA
341 P                   DRIVE ACADEMY                                     _MAP_2013_14_442.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 446 HODGE           ASE_ATTENDANCE_AREA
342 P                   ROAD ES                                           _MAP_2013_14_446.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 457 HOLLY           ASE_ATTENDANCE_AREA
343 P                   GROVE ES                                          _MAP_2013_14_457.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 458 HOLLY           ASE_ATTENDANCE_AREA
344 P                   GROVE MS                                          _MAP_2013_14_458.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 449 HOLLY           ASE_ATTENDANCE_AREA
345 P                   RIDGE ES                                          _MAP_2013_14_449.pdf

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                        2013-14 Base Attendance Area- 450 HOLLY           ASE_ATTENDANCE_AREA
346 P                   RIDGE MS                                          _MAP_2013_14_450.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 447 HOLLY           ASE_ATTENDANCE_AREA
347 P                   SPRINGS ES                                        _MAP_2013_14_447.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 455 HOLLY           ASE_ATTENDANCE_AREA
348 P                   SPRINGS HS                                        _MAP_2013_14_455.pdf

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                                                                          et/pdf_maps/2013_14/B
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349 P                   2013-14 Base Attendance Area- 448 HUNTER ES       _MAP_2013_14_448.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 452 JEFFREY         ASE_ATTENDANCE_AREA
350 P                   GROVE ES                                          _MAP_2013_14_452.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 453 JONES           ASE_ATTENDANCE_AREA
351 P                   DAIRY ES                                          _MAP_2013_14_453.pdf

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352 P                   2013-14 Base Attendance Area- 456 JOYNER ES       _MAP_2013_14_456.pdf

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                        2013-14 Base Attendance Area- 460                 ASE_ATTENDANCE_AREA
353 P                   KINGSWOOD ES                                      _MAP_2013_14_460.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 464                 ASE_ATTENDANCE_AREA
354 P                   KNIGHTDALE ES                                     _MAP_2013_14_464.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 466                 ASE_ATTENDANCE_AREA
355 P                   KNIGHTDALE HS                                     _MAP_2013_14_466.pdf




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356 P                   2013-14 Base Attendance Area- 468 LACY ES         _MAP_2013_14_468.pdf

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                        2013-14 Base Attendance Area- 474 LAKE MYRA       ASE_ATTENDANCE_AREA
357 P                   ES                                                _MAP_2013_14_474.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 467 LAUREL          ASE_ATTENDANCE_AREA
358 P                   PARK ES                                           _MAP_2013_14_467.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 470 LEAD MINE       ASE_ATTENDANCE_AREA
359 P                   ES                                                _MAP_2013_14_470.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 469 LEESVILLE       ASE_ATTENDANCE_AREA
360 P                   ROAD ES                                           _MAP_2013_14_469.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 473 LEESVILLE       ASE_ATTENDANCE_AREA
361 P                   ROAD HS                                           _MAP_2013_14_473.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 471 LEESVILLE       ASE_ATTENDANCE_AREA
362 P                   ROAD MS                                           _MAP_2013_14_471.pdf

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                                                                          et/pdf_maps/2013_14/B
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363 P                   2013-14 Base Attendance Area- 472 LIGON MS        _MAP_2013_14_472.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 476 LINCOLN         ASE_ATTENDANCE_AREA
364 P                   HEIGHTS ES                                        _MAP_2013_14_476.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 480 LOCKHART        ASE_ATTENDANCE_AREA
365 P                   ES                                                _MAP_2013_14_480.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 484 LUFKIN          ASE_ATTENDANCE_AREA
366 P                   ROAD MS                                           _MAP_2013_14_484.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 488 LYNN            ASE_ATTENDANCE_AREA
367 P                   ROAD ES                                           _MAP_2013_14_488.pdf




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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 492 MARTIN          ASE_ATTENDANCE_AREA
368 P                   MS                                                _MAP_2013_14_492.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 494 MIDDLE          ASE_ATTENDANCE_AREA
369 P                   CREEK ES                                          _MAP_2013_14_494.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 495 MIDDLE          ASE_ATTENDANCE_AREA
370 P                   CREEK HS                                          _MAP_2013_14_495.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 496                 ASE_ATTENDANCE_AREA
371 P                   MILLBROOK ES                                      _MAP_2013_14_496.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 500                 ASE_ATTENDANCE_AREA
372 P                   MILLBROOK HS                                      _MAP_2013_14_500.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 501 MILLS           ASE_ATTENDANCE_AREA
373 P                   PARK ES                                           _MAP_2013_14_501.pdf




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                        2013-14 Base Attendance Area- 502 MILLS           ASE_ATTENDANCE_AREA
374 P                   PARK MS                                           _MAP_2013_14_502.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 506 MOORE           ASE_ATTENDANCE_AREA
375 P                   SQUARE MUSEUMS MS                                 _MAP_2013_14_506.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 504                 ASE_ATTENDANCE_AREA
376 P                   MORRISVILLE ES                                    _MAP_2013_14_504.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 514 NORTH           ASE_ATTENDANCE_AREA
377 P                   FOREST PINES DRIVE ES                             _MAP_2013_14_514.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 512 North           ASE_ATTENDANCE_AREA
378 P                   Garner MS                                         _MAP_2013_14_512.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 516 NORTH           ASE_ATTENDANCE_AREA
379 P                   RIDGE ES                                          _MAP_2013_14_516.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 520                 ASE_ATTENDANCE_AREA
380 P                   NORTHWOODS ES                                     _MAP_2013_14_520.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 522 OAK             ASE_ATTENDANCE_AREA
381 P                   GROVE ES                                          _MAP_2013_14_522.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
382 P                   2013-14 Base Attendance Area- 524 OLDS ES         _MAP_2013_14_524.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 523 OLIVE           ASE_ATTENDANCE_AREA
383 P                   CHAPEL ES                                         _MAP_2013_14_523.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 526 PANTHER         ASE_ATTENDANCE_AREA
384 P                   CREEK HS                                          _MAP_2013_14_526.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 525N                ASE_ATTENDANCE_AREA
385 P                   PARTNERSHIP ES                                    _MAP_2013_14_525.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 530 PENNY           ASE_ATTENDANCE_AREA
386 P                   ROAD ES                                           _MAP_2013_14_530.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 531 PLEASANT        ASE_ATTENDANCE_AREA
387 P                   UNION ES                                          _MAP_2013_14_531.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
388 P                   2013-14 Base Attendance Area- 532 POE ES          _MAP_2013_14_532.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
389 P                   2013-14 Base Attendance Area- 536 POWELL ES       _MAP_2013_14_536.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 540 RAND            ASE_ATTENDANCE_AREA
390 P                   ROAD ES                                           _MAP_2013_14_540.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 542 REEDY           ASE_ATTENDANCE_AREA
391 P                   CREEK ES                                          _MAP_2013_14_542.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 400 REEDY           ASE_ATTENDANCE_AREA
392 P                   CREEK MS                                          _MAP_2013_14_400.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 543 RICHLAND        ASE_ATTENDANCE_AREA
393 P                   CREEK ES                                          _MAP_2013_14_543.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 302 RIVER           ASE_ATTENDANCE_AREA
394 P                   BEND ES                                           _MAP_2013_14_302.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 544 ROLESVILLE      ASE_ATTENDANCE_AREA
395 P                   ES                                                _MAP_2013_14_544.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 546 ROLESVILLE      ASE_ATTENDANCE_AREA
396 P                   HS                                                _MAP_2013_14_546.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 545 ROLESVILLE      ASE_ATTENDANCE_AREA
397 P                   MS                                                _MAP_2013_14_545.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
398 P                   2013-14 Base Attendance Area- 548 ROOT ES         _MAP_2013_14_548.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
399 P                   2013-14 Base Attendance Area- 550 SALEM ES        _MAP_2013_14_550.pdf

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                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
400 P                   2013-14 Base Attendance Area- 551 SALEM MS        _MAP_2013_14_551.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 552                 ASE_ATTENDANCE_AREA
401 P                   SANDERSON HS                                      _MAP_2013_14_552.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 554 SANFORD         ASE_ATTENDANCE_AREA
402 P                   CREEK ES                                          _MAP_2013_14_554.pdf

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                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
403 P                   2013-14 Base Attendance Area- 560 SMITH ES        _MAP_2013_14_560.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 562                 ASE_ATTENDANCE_AREA
404 P                   SOUTHEAST RALEIGH HS                              _MAP_2013_14_562.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
405 P                   2013-14 Base Attendance Area- 564 STOUGH ES       _MAP_2013_14_564.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 568 SWIFT           ASE_ATTENDANCE_AREA
406 P                   CREEK ES                                          _MAP_2013_14_568.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 569 SYCAMORE        ASE_ATTENDANCE_AREA
407 P                   CREEK ES                                          _MAP_2013_14_569.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 570 TIMBER          ASE_ATTENDANCE_AREA
408 P                   DRIVE ES                                          _MAP_2013_14_570.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 571 TURNER          ASE_ATTENDANCE_AREA
409 P                   CREEK ES                                          _MAP_2013_14_571.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 572                 ASE_ATTENDANCE_AREA
410 P                   UNDERWOOD ES                                      _MAP_2013_14_572.pdf

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                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
411 P                   2013-14 Base Attendance Area- 576 VANCE ES        _MAP_2013_14_576.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 580 VANDORA         ASE_ATTENDANCE_AREA
412 P                   SPRINGS ES                                        _MAP_2013_14_580.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 593 WAKEFIELD       ASE_ATTENDANCE_AREA
413 P                   ES                                                _MAP_2013_14_593.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 595 WAKEFILED       ASE_ATTENDANCE_AREA
414 P                   HS                                                _MAP_2013_14_595.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 594 WAKEFILED       ASE_ATTENDANCE_AREA
415 P                   MS                                                _MAP_2013_14_594.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 584                 ASE_ATTENDANCE_AREA
416 P                   WAKEFOREST ES                                     _MAP_2013_14_584.pdf

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                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 588 WAKE            ASE_ATTENDANCE_AREA
417 P                   FOREST HS                                         _MAP_2013_14_588.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 592 WAKE            ASE_ATTENDANCE_AREA
418 P                   FOREST MS                                         _MAP_2013_14_592.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 597 WAKELON         ASE_ATTENDANCE_AREA
419 P                   ES                                                _MAP_2013_14_597.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 599 WALNUT          ASE_ATTENDANCE_AREA
420 P                   CREEK ES                                          _MAP_2013_14_599.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 596                 ASE_ATTENDANCE_AREA
421 P                   WASHINGTON ES                                     _MAP_2013_14_596.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 598                 ASE_ATTENDANCE_AREA
422 P                   WEATHERSTONE ES                                   _MAP_2013_14_598.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 600 WENDELL         ASE_ATTENDANCE_AREA
423 P                   ES                                                _MAP_2013_14_600.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 601 WENDELL         ASE_ATTENDANCE_AREA
424 P                   MS                                                _MAP_2013_14_601.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 604 WEST CARY       ASE_ATTENDANCE_AREA
425 P                   MS                                                _MAP_2013_14_604.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 606 WEST LAKE       ASE_ATTENDANCE_AREA
426 P                   ES                                                _MAP_2013_14_606.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendace Area- 607 WEST LAKE        ASE_ATTENDANCE_AREA
427 P                   MS                                                _MAP_2013_14_607.pdf




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                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 608 WEST            ASE_ATTENDANCE_AREA
428 P                   MILLBROOK MS                                      _MAP_2013_14_608.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 616 WILBURN         ASE_ATTENDANCE_AREA
429 P                   ES                                                _MAP_2013_14_616.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 618                 ASE_ATTENDANCE_AREA
430 P                   WILDWOOD FOREST ES                                _MAP_2013_14_618.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                                                                          ASE_ATTENDANCE_AREA
431 P                   2013-14 Base Attendance Area- 620 WILEY ES        _MAP_2013_14_620.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 624 WILLOW          ASE_ATTENDANCE_AREA
432 P                   SPRINGS ES                                        _MAP_2013_14_624.pdf

                                                                          http://wwwgis2.wcpss.n
                                                                          et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 626 YATES MILL      ASE_ATTENDANCE_AREA
433 P                   ES                                                _MAP_2013_14_626.pdf




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                                                                               http://wwwgis2.wcpss.n
                                                                               et/pdf_maps/2013_14/B
                                                                               ASE_ATTENDANCE_AREA
434 P                        2013-14 Base Attendance Area- 628 YORK ES         _MAP_2013_14_628.pdf

                                                                               http://wwwgis2.wcpss.n
                                                                               et/pdf_maps/2013_14/B
                             2013-14 Base Attendance Area- 632 ZEBULON         ASE_ATTENDANCE_AREA
435 P                        ES                                                _MAP_2013_14_632.pdf

                                                                               http://wwwgis2.wcpss.n
                                                                               et/pdf_maps/2013_14/B
                             2013-14 Base Attendance Area- 636 ZEBULON         ASE_ATTENDANCE_AREA
436 P                        MS                                                _MAP_2013_14_636.pdf

                                                                               http://eboard.eboardsol
                                                                               utions.com/Meetings/Att
                             Wake Board of Education Resolution on             achment.aspx?S=920&AI
437 P   4/23/2013            Redistricting                                     D=47751&MID=2197

                                                                               http://www.ncleg.net/Se
                                                                               ssions/2013/Bills/Senate
438 P   6/13/2013            S.B. 325                                          /PDF/S325v6.pdf

                                                                               http://www.ncleg.net/Se
                                                                               ssions/2015/Bills/Senate
439 P    4/2/2015            S.B. 181                                          /PDF/S181v6.pdf
                                                                               http://www.ncleg.net/ga
                                                                               scripts/BillLookUp/BillLo
                                                                               okUp.pl?Session=2013&
                                                                               BillID=SB+325&submitBu
440 P                        S.B. 325 Bill History Page                        tton=Go



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                                                                               http://www.ncleg.net/ga
                                                                               scripts/BillLookUp/BillLo
                                                                               okUp.pl?Session=2015&
                                                                               BillID=SB+181&submitBu
441 P                        S.B. 181 Bill History Page                        tton=Go

                                                                               http://factfinder.census.
                                                                               gov/faces/tableservices/j
                                                                               sf/pages/productview.xh
442 P                        2000 Census Data - Wake County, NC                tml?src=bkmk

                                                                               http://factfinder.census.
                                                                               gov/faces/tableservices/j
                                                                               sf/pages/productview.xh
443 P                        2010 Census Data - Wake County, NC                tml?src=bkmk

                                                                               http://www.wakegov.co
                                                                               m/elections/data/Past%
                                                                               20Election%20Results/20
                                                                               03-10-07%20-
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                                                                               ary%20Municipal%20and
                                                                               %20Board%20of%20Edu
                                                                               cation%20Election,%20a
                                                                               nd%20Wake%20County
                                                                               %20and%20Raleigh%20B
                             Wake County Board of Education Election           ond%20Referendums/20
444 P   10/7/2003            Results, 2003                                     031007Summary.txt




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                                                                               http://www.wakegov.co
                                                                               m/elections/data/Past%
                                                                               20Election%20Results/20
                                                                               01-10-09%20-
                                                                               %20Raleigh%20and%20C
                                                                               ary%20Municipal%20and
                                                                               %20Board%20of%20Edu
                             Wake County Board of Education Election           cation%20Election/2001
445 P   10/9/2001            Results 2001                                      1009Summary.txt
                                                                               http://www.wakegov.co
                                                                               m/elections/data/Past%
                                                                               20Election%20Results/20
                                                                               01-11-06%20-
                                                                               %20Municipal%20Electio
                                                                               ns%20and%20Raleigh,%2
                                                                               0Cary,%20and%20Board
                                                                               %20of%20Education%20
                             Wake County Board of Education Election           Runoffs/20011106Summ
446 P   11/6/2001            Results 2001 Runoff                               ary.txt

                                                                               http://charmeck.org/me
                                                                               cklenburg/county/Open
                                                                               Mecklenburg/2011Redist
                             "Redistricting for Local Governments After the    ricting/Documents/Scho
                             2010 Census," Robert P. Joyce, UNC-Chapel Hill    ol%20of%20Government
447 P   10/8/2010            School of Government                              %20overview.pdf

448 P                        2011 Plan - Whole Plan - Geocoded Schools
                             2011 Plan - Whole Plan - Geocoded Schools
449 P                        View 2
450 P                        2011 Plan - Leesville HS Zoom
451 P                        2011 Plan - Garner HS Zoom



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452 P                        2011 Plan - Broughton HS Martin MS Zoom
                             S.B. 325 - Numbered Districts - Geocoded
453 P                        Schools
                             S.B. 325 - Numbered Districts - Geocoded
454 P                        Schools View 2

455 P                        S.B. 325 - Super Districts - Geocoded Schools
                             S.B. 325 - Numbered Districts - Leesville HS
456 P                        Zoom

457 P                        S.B. 325 - Numbered Districts - Garner HS Zoom
                             S.B. 325 - Numbered Districts - Broughton HS
458 P                        Martin MS Zoom
                             Email from Cherie Poucher to Ron Margiotta re
459 P    1/6/2011            2011 Redistricting

                             Email from Ann Majestic to Wake County
460 P    2/8/2011            School Board Members Re: 2001 Redistricting

                             Email Thread, WCPSS School-Community News -
                             "Board Hears from Attorney Shanahan on
461 P   2/19/2011            Redistricting"

                             Email from John Branch to Ron Margiotta, 2010
462 P   4/13/2011            District Population Deviations
463 P                        Chen Simulation Figures
464 P                        Chen Election Results Figures 3
465 P                        Jowei Chen CV
                             Email thread, Donna Williams, John Tedesco
466 P   4/30/2013            and Brent Woodcox
                             Email thread, Donna Williams, Brent Woodcox,
467 P    5/7/2013            et al.



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468 P    6/4/2013            Email thread, Donna Williams, Neal Hunt, et al.
                             Fairfax 2013 School Board Incumbent Names
469 P                        Map

                                                                               http://ncleg.net/Applicat
                                                                               ions/BillLookUp/LoadBill
                             Rep. Gill Amendment A1 to Senate Bill 181
                                                                               Document.aspx?SessionC
                                                                               ode=2015&DocNum=267
470 P    4/1/2015                                                              4&SeqNum=0

                                                                               http://ncleg.net/Applicat
                                                                               ions/BillLookUp/LoadBill
                                                                               Document.aspx?SessionC
                                                                               ode=2015&DocNum=267
471 P    4/1/2015            Rep. Gill A1 Amendment Map alternate districts    4&SeqNum=1

                                                                               http://ncleg.net/Applicat
                                                                               ions/BillLookUp/LoadBill
                                                                               Document.aspx?SessionC
                             Rep. Gill A1 Amendment Stat Pack alternate        ode=2015&DocNum=267
472 P    4/1/2015            districts - numbered districts                    4&SeqNum=2

                                                                               http://ncleg.net/Applicat
                                                                               ions/BillLookUp/LoadBill
                                                                               Document.aspx?SessionC
                             Rep. Gill A1 Amendment Stat Pack alternate        ode=2015&DocNum=267
473      4/1/2015            districts - super districts                       4&SeqNum=3

                                                                               http://www.ncleg.net/A
                                                                               pplications/BillLookUp/L
                                                                               oadBillDocument.aspx?S
                                                                               essionCode=2013&DocN
474     6/10/2013            Rep. Jackson Amendment                            um=5861&SeqNum=0


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475 P                           S.B. 325 Process Demonstrative
476 P                           S.B. 181 Process Demonstrative

477 P                           Political Subdivisons Split Between Parties

                                Email thread entitled "Re: Thank you all for
478 P      5/29/2015            today's success with SB 325"

                                Email thread entitled "FW: SB 325 Wake County
479 P       4/1/2013            School Board Districts"

                                Email thread entitled "Re: PRESS RELEASE:
                                Barefoot files local bill to increase
                                representation and geographic diversity on the
480 P       3/4/2015            Wake County Board of Commissioners"
                                Transcript -Senate Floor Debate on SB 325, June
481 P, D   6/12/2013            12, 2013




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